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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                   06 cr 481 (JGK)
                 -against-
                                                                                          ORDER
JASON PONDER,
                                    Defendant.
----------------------------------------------------X

        A conference having been held today, on the violation of supervised release, the Court

hereby orders that all the conditions of supervised release be continued, as well as the following

additional conditions:

        The defendant shall be placed under home incarceration to be enforced by location

monitoring, using specific technology to be determined by the Probation Department. The

defendant may only leave his residence for necessary medical services, treatment services,

current work, and legal matters, with advanced notification, and approval if time permits, from

the Probation Department. All other leave from the residence must be submitted through defense

counsel for the Court’s approval. The defendant is to pay the cost of location monitoring if he is

financially able to do so. For a period of 14 days, starting August 5, 2020, the defendant shall be

quarantined at his residence and not be permitted to leave.

SO ORDERED.

Dated: New York, New York
       August 5, 2020
                                                        _____ ____/s/John G. Koeltl__ _______
                                                                JOHN G. KOELTL
                                                        UNITED STATES DISTRICT JUDGE
